                                                          EXHIBIT A




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                                       Post                      •••


          This statue will never be removed! And get
          your facts straight, there was not a deputy
          in that car. This statue is monitored another
          way. Go ahead and try to take it down, you
          will see all of the fine Rednecks come out of
           the woods then.
           2h Like Reply                            1 •


                                as to your redneck out
                 of the wood comment, let em come. this
                 generation ain't scared like our
                 ancestors
                 2h    Like   Reply



                                we can and will be there if
                 y'all try something
                 2h    Like    Reply                         1   •


                               just because you come
                 out doesn't mean you'll make it back
                  1h   Like   Reply                          1   0

      @       Write a convnent.




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